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U.S. SENATOR PATRICK LEAHY

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Statement Of Sen. Patrick Leahy,
Ranking Member, Judiciary Committee,
Hearing On “NSA III: War Time Executive Power And The FISA Court"
March 28, 2006

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I thank the Chairman for holding this hearing today. We desperately need some answers
to basic questions about the President’s decision to wiretap Americans on American soil
without court approval and without attempting to comply with the Foreign Intelligence
Surveillance Act. More than three months and two Committee hearings after the
President was forced to acknowledge the program’s existence, this Committee remains
in the dark with regard to nearly every aspect of the program. As Senator Specter
succinctly put it recently, we are still “flying blind on a great deal of this.”

We held our first hearing on February 2 with Attorney General Gonzales. His testimony
was more obstructionist than enlightening. He flatly refused to discuss anything beyond
“those facts the President has publicly confirmed, nothing more.” In other words, he
refused to tell us anything we did not already know.

The Administration’s stonewalling has only gotten worse since then. Three weeks later,
the Attorney General wrote an extraordinary letter to Chairman Specter, seeking to alter
his live testimony — mainly by making it even less responsive than it was. That letter
raised serious additional concerns about the scope of the Administration’s domestic
spying activities, its shifting legal rationalizations, and the Attorney General’s own
credibility.

For example, the Attorney General’s letter suggests that the Administration is operating
other secret programs that invade the rights and liberties of Americans. But it refuses to
answer our questions regarding the scope and the purported legal basis of those
programs.

The Attorney General’s letter admits that “the Department’s legal analysis has evolved
over time,” while once again refusing to answer the basic factual question of when the
Administration came up with its theory that the congressional resolution authorizing
military force against al Qaeda also authorized warrantless domestic wiretapping of
Americans. I can only infer that the Administration’s AUMF theory was concocted
long after it decided to ignore FISA.

The AUMF says nothing about FISA or about domestic wiretaps. And no members of

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Congress I have spoken to understood themselves to be partially repealing FISA’s
warrant requirement when they voted for the AUMF. So here, four years after the fact,
we have an Administration that purports to pride itself on “strict construction” claiming
that, unbeknownst to the Congress that passed it, the AUMF’s silence on wiretaps
overrides FISA’s express prohibition, including in wartime, of warrantless domestic
wiretaps. I agree with George Will who wrote in a column last month that that after the
fact rationalization is both “risible” and “incoherent.”

To fulfill our legislative function, we need to know what other invasions into
Americans’ rights and privacy the Administration believes we authorized, and why.
However, the Bush-Cheney Administration continues to stonewall.

The Democratic members of the Committee finally received a response late last Friday
to the priority questions we sent the Attorney General following his appearance on
February 6. I say we received a “response” because saying we got “answers” would be
an exaggeration. What we got, with respect to virtually every question, was some
version of “we cannot [answer]” or “we are not able to [answer]” or “we are not in a
position [to answer]” or simply, “it would be inappropriate for us [to answer].”

We held our second hearing on the program on February 28. That hearing was an
academic panel discussion featuring scholars and former government officials with a
great deal of expertise in the law, but no knowledge of the program that they were
discussing. We had a good discussion. But it was not oversight.

Nor is our hearing today. Our witnesses are experts in the Foreign Intelligence
Surveillance Act, but they have no special knowledge of the President’s program to
wiretap Americans outside of that Act. They cannot tell us any more than the very little
that we already know about what this Administration has been doing for the last four
years under its theory of limitless Executive power.

We are stuck at an impasse, lacking information or cooperation from an Administration
that refuses to submit to real congressional oversight. This is, of course, nothing new
from an obsessively secretive Administration that has classified historical documents for
no reason, conducted energy policy and attempted to outsource port security behind
closed doors, routinely blocked investigations and audits, repeatedly harassed
whistleblowers, and dismissively refused to cooperate with congressional oversight for
more than five years. This Administration has a paranoid aversion to openness and
accountability that will not be overcome by gentle persuasion.

The Administration tells us, we won’t tell you enough to do meaningful oversight over
what we’re doing, so just trust us. But how can we trust this Administration, when
every day brings more evidence of its incompetence, including yesterday’s revelation
that our borders are not even secure from the simplest scheme to smuggle in a dirty
bomb?

So how can we move forward to protect the security and the rights and freedoms of the

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American people? I believe that we in Congress need to do three things.

First, if the rule of law means anything, we must insist on real oversight and real
accountability. The Chairman said at our last hearing, “we will struggle to try to find
out what the program is.” With the greatest of respect, that need not be a “struggle.”
We have the constitutional right to compel information from this Administration by
subpoena. During the last two years of the Clinton Administration, this Committee
approved the issuance of more than a dozen subpoenas to the Department of Justice and
former DOJ officials, both for documents, including legal memoranda, and for live
testimony. The question is not whether we can find out the extent of the
Administration’s secret spying on the American people. The question is whether the
Republican majority of this Congress has the political will to do so.

Second, if there is a real need for legislation that eases existing restrictions under FISA,
we should of course pass it, as we have done on a bipartisan basis with numerous
powers requested by this Administration over the past five years. However, we should
not rush to give the Administration new powers it has not deigned to request, based on
concerns it has not articulated.

Finally, in discussing legislation, we should collectively draw a line in the sand. No
new powers should be given to this Administration until we secure a firm assurance that
it will faithfully execute and abide by the law as written by Congress. We have spent
many hours of the people’s time in this Congress, and been subjected to extreme
partisan political pressure, responding to the Administration’s repeated demands for
urgent amendments to FISA, the PATRIOT Act and other laws that limit Americans’
civil liberties for the sake of security. Yet, as George Will pointed out, all those debates
have been a meaningless charade if the Administration’s “monarchical” assertions of
essentially unfettered presidential power to conduct the war on terror are taken
seriously. If, as the Administration contends, the President can pick and choose which
laws he will or will not follow, what is the point of our amending FISA?

We are not here to play charades. We are here to legislate the law of the land. So any
further legislation that we enact in this area should, at a minimum, include express
provisions that require the President to stop equivocating with vague, expansive and
dangerous theories of inherent powers, and to accept that he is fully bound by the
legislation as written. We must put an end to police state powers operating outside the
law.

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